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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA
                                CENTRAL DIVISION


 AKRUM WADLEY; JONATHAN                                 Case No. 4:20-cv-366
 PARKER; MARCEL JOLY; AARON
 MENDS; DARIAN COOPER; BRANDON
 SIMON; and JAVON FOY,

        Plaintiffs,

 vs.                                                    AGENDA FOR
                                                     STATUS CONFERENCE
 UNIVERSITY OF IOWA, BOARD OF
 REGENTS FOR THE STATE OF IOWA;
 KIRK FERENTZ; BRIAN FERENTZ;
 CHRISTOPHER DOYLE; GARY BARTA;
 and SETH WALLACE,

        Defendants.



       Pursuant to the Court’s August 25, 2022 Order [Doc. 135], Defendants set forth the

below agenda for the status conference set for September 22, 2022 at 10:30 a.m.

   1. Documents to be filed under seal by Plaintiffs. (Doc 142-4).

   2. New trial dates.

   3. Status of deadlines.

                                                Respectfully submitted,

                                                THOMAS J. MILLER
                                                Attorney General of Iowa

                                                /s/ Jeffrey S. Thompson
                                                JEFFREY S. THOMPSON
                                                Solicitor General

                                                /s/ Jeffrey C. Peterzalek
                                                JEFFREY C. PETERZALEK
                                                /s/ Christopher J. Deist
                                                CHRISTOPHER J. DEIST

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                                    ATTORNEYS FOR DEFENDANTS


                                                     PROOF OF SERVICE
                                  The undersigned certifies that the foregoing instrument was
                                served upon each of the persons identified as receiving a copy
                                by delivery in the following manner on September 19, 2022:

                                        U.S. Mail                     FAX
                                        Hand Delivery                 Overnight Courier
                                        Federal Express               Other
                                        CM/ECF

                                Signature: /s/ Audra Jobst




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